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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                       CRIMINAL 05-0047CCC
 1) JOSE R. LUGO-GUERRERO
 2) OSCAR SOSA-DELGADO
 3) ALEXANDER GUZM AN-DEL-VALLE
 Defendants

                                              O R D E R
         Before the Court is the Objection to Pre-Sentence Report filed by defendant Oscar Sosa-Delgado

on August 20, 2005 (docket entry 71), which remains unopposed, where he challenges the two-level

upward adjustment awarded to him under advisory Guideline §3C1.2 for obstruction of justice. The

U.S. Probation Officer applied the adjustment after concluding that “defendant recklessly created a

substantial risk of death or serious bodily injury to another person in the course of fleeing from a law

enforcement officer.” Pre-Sentence R eport (docket entry 73), at p. 5, ¶10. The specific factual basis
for the adjustment was obtained from unidentified government’s witnesses who described that “the driver

of the car was swerving through traffic, making erratic lane changes without using turn signals and even

drove over two lane dividers causing a flat tire in the process.” PSR, at p. 4, ¶6 . The PSR , however,

identifies the driver of the car as co-defendant Alexander Guzmán. PSR, at p. 3, ¶5. Defendant stresses

the fact that he was not driving the fleeing vehicle, and submits in addition that the discovery provided

to him show s that he w as continu ously asking the driver to stop the car so that he could get off.
         Given that the adjustment is essentially based on reckless driving while fleeing from the

authorities, it being undisputed that defendant was not the driver of the getaway car, and there being
no evidence before us that he instigated, commanded, procured or induced said reckless driving, the

Court will not apply the adjustment under §3C1.2. Accordingly, defendant’s objection is SUSTAINED.
         SO OR DER ED.

         At San Juan, Puerto Rico, on September 7, 2005.




                                                        S/CARMEN CONSUELO CEREZO
                                                        United States District Judge
